               EXHIBIT G




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July 5, 2022

Via E-mail

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         Re:       Page v. Bragg Communities, LLC, No. 5:20-cv-00336-D (E.D.N.C.).

Dear Counsel:

I write to follow up on several outstanding discovery-related issues.

Supplemental Discovery Responses & Authorizations

On June 8, 2022, we advised you that Ms. Wilkes’ social security number was incorrect on her
executed authorization. We are still awaiting a corrected authorization.

In our May 31, 2022 deficiency letter, we identified a series of discovery-related issues that have
still not been adequately addressed, or addressed at all, by Plaintiffs. Critically, we are still
awaiting supplemental verified interrogatory responses that contain the names of doctors,
hospitals, and other medical providers seen by Plaintiffs. Most recently, you advised us that we
would have these supplemental interrogatory responses on June 20, and yet we still have not
received anything.




Atlanta | Austin | Boston | Charlotte | Chicago | Dallas | Denver | Fort Lauderdale | Fort Worth | Houston
Jacksonville | Los Angeles | Miami | New York | Orange County | Orlando | Philadelphia | Portland
Richmond | San Francisco | Stamford | Tallahassee | Tampa | Tysons | Washington, D.C. | West Palm Beach
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Also, Plaintiffs’ supplemental responses to the requests for production and interrogatories are
deficient in several additional respects, as explained in depth in our May 31, 2022 letter.

We expect that all of these deficiencies will be remedied no later than Friday, July 8, 2022, or we
will have to raise these issues with the Court.

Third-Party Subpoenas

On June 6, 2022, you sent us copies of subpoenas to third parties. Those subpoenas all contained
a response date of July 1, 2022. We received the objections filed by Jerry’s Painting, but we have
not yet received any other documents in response to the subpoenas. As you know, the ESI Protocol
requires that you produce to us any documents obtained pursuant to a non-party subpoena. Please
provide an update on the status of productions from third parties, and if any documents have been
obtained from any third parties, please send us a copy no later than July 8, 2022.

Document Production Issues

We continue to have issues with Plaintiffs’ document productions failing to conform to the ESI
Protocol. As we have advised, these issues need to be resolved right away so that we can
meaningfully review Plaintiffs’ productions and prepare for depositions:

    •    On March 31, 2022, we received one 3,450 page PDF. The document was not unitized,
         which is required by the ESI protocol.

    •    In the production titled Wallace1_01 - we received tiff images in 24 bit format. However,
         the ESI protocol states: “If producing a TIFF, the Producing Party shall provide a black-
         and-white, single-page Group IV TIFF of at least 300 DPI resolution with corresponding
         multi-page text and necessary load files. The production of documents and/or ESI in
         color shall be made in single-page color JPG images of 300 DPI with a minimum quality
         level of 75, 24-bit.” Below is a screenshot of the tiff images we received.




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    •    In Wallace1_01 - we received text files on the page level. However, the ESI protocol
         states: “All text files shall be provided as a single document level text file for each item,
         not one text file per page. Each text file shall be named to use the Bates number of the
         first page of the corresponding production item.” The text files we received are on the
         page level as indicated in this screenshot.




    •    In Wallace1_01 - we received a native PST file that contained 79 email messages within
         the PST. There was only one native slip-sheet for the PST file - WALLACE1-
         00003975_1. However, the ESI protocol states: “In addition to producing the above file
         types in native format, the Producing Party shall produce a single-page TIFF slip sheet
         indicating that a native item was produced.”

    •    In Wallace1_02- We did not receive any metadata, load files or text files.
    •    In Wallace1_01 and Wallace1_02—These two productions contain errors as they reuse
         previously-used bates numbers. The Bates range in Wallace1_01 is : WALLACE1-
         00000001 to WALLACE1-00003975_1. Wallace2_01 has a bates range of




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         WALLACE1-00003975_01 - WALLACE1-00004300. The native slip-sheet for
         WALLACE1-00003975_1 does not have a bates stamp on the document.

    •    In Wallace1_01 and Wallace1_02-- the file names of the tiff images DO NOT match the
         bates number on the image. As an example file is named : WALLACE1-
         00003975_04.tif but the bates number on the document is WALLACE1-00003978. The
         ESI Protocol states: “Each image will have a file name that is the unique Bates number of
         that image.”




    •    On May 27th, we received one large PDF file titled " NEW GANSKE DOCUMENTS
         MARCH 27 2022 AS ONE BIG PDF"- the PDF file is 131 pages long and not every page
         has a bates number stamped on it. The document was also not unitized, which is required
         under the ESI Protocol




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We request that you resolve these deficiencies right away so that we can conduct a meaningful
review of Plaintiffs’ document production. We are continuing to review the productions and
reserve all rights.

                                                  Sincerely yours,

                                                  HOLLAND & KNIGHT LLP




                                                  Laura Renstrom




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